Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 1 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 2 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 3 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 4 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 5 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 6 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 7 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 8 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 9 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 10 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 11 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 12 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 13 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 14 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 15 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 16 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 17 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 18 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 19 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 20 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 21 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 22 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 23 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 24 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 25 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 26 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 27 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 28 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 29 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 30 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 31 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 32 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 33 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 34 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 35 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 36 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 37 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 38 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 39 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 40 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 41 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 42 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 43 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 44 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 45 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 46 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 47 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 48 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 49 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 50 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 51 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 52 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 53 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 54 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 55 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 56 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 57 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 58 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 59 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 60 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 61 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 62 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 63 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 64 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 65 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 66 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 67 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 68 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 69 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 70 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 71 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 72 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 73 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 74 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 75 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 76 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 77 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 78 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 79 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 80 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 81 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 82 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 83 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 84 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 85 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 86 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 87 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 88 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 89 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 90 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 91 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 92 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 93 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 94 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 95 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 96 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 97 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 98 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 99 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 100 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 101 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 102 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 103 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 104 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 105 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 106 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 107 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 108 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 109 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 110 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 111 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 112 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 113 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 114 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 115 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 116 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 117 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 118 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 119 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 120 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 121 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 122 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 123 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 124 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 125 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 126 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 127 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 128 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 129 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 130 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 131 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 132 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 133 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 134 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 135 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 136 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 137 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 138 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 139 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 140 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 141 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 142 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 143 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 144 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 145 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 146 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 147 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 148 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 149 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 150 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 151 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 152 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 153 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 154 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 155 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 156 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 157 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 158 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 159 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 160 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 161 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 162 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 163 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 164 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 165 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 166 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 167 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 168 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 169 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 170 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 171 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 172 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 173 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 174 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 175 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 176 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 177 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 178 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 179 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 180 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 181 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 182 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 183 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 184 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 185 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 186 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 187 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 188 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 189 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 190 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 191 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 192 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 193 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 194 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 195 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 196 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 197 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 198 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 199 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 200 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 201 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 202 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 203 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 204 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 205 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 206 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 207 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 208 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 209 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 210 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 211 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 212 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 213 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 214 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 215 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 216 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 217 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 218 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 219 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 220 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 221 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 222 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 223 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 224 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 225 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 226 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 227 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 228 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 229 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 230 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 231 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 232 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 233 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 234 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 235 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 236 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 237 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 238 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 239 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 240 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 241 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 242 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 243 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 244 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 245 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 246 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 247 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 248 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 249 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 250 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 251 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 252 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 253 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 254 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 255 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 256 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 257 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 258 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 259 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 260 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 261 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 262 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 263 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 264 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 265 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 266 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 267 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 268 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 269 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 270 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 271 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 272 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 273 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 274 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 275 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 276 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 277 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 278 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 279 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 280 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 281 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 282 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 283 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 284 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 285 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 286 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 287 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 288 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 289 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 290 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 291 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 292 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 293 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 294 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 295 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 296 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 297 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 298 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 299 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 300 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 301 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 302 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 303 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 304 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 305 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 306 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 307 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 308 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 309 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 310 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 311 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 312 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 313 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 314 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 315 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 316 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 317 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 318 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 319 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 320 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 321 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 322 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 323 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 324 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 325 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 326 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 327 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 328 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 329 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 330 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 331 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 332 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 333 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 334 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 335 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 336 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 337 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 338 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 339 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 340 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 341 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 342 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 343 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 344 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 345 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 346 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 347 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 348 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 349 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 350 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 351 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 352 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 353 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 354 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 355 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 356 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 357 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 358 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 359 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 360 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 361 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 362 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 363 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 364 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 365 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 366 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 367 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 368 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 369 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 370 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 371 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 372 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 373 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 374 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 375 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 376 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 377 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 378 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 379 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 380 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 381 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 382 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 383 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 384 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 385 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 386 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 387 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 388 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 389 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 390 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 391 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 392 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 393 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 394 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 395 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 396 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 397 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 398 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 399 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 400 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 401 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 402 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 403 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 404 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 405 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 406 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 407 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 408 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 409 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 410 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 411 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 412 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 413 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 414 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 415 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 416 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 417 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 418 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 419 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 420 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 421 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 422 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 423 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 424 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 425 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 426 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 427 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 428 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 429 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 430 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 431 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 432 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 433 of 434
Case 3:17-cv-00325-EMC Document 9-3 Filed 10/17/17 Page 434 of 434
